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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

ADVANCED ANALYTICS, INC.,

                      Plaintiff,
                                                                  ORDER
              -against-
                                                             20 Civ. 7034 (PGG)
CITIGROUP, INC., LONDON STOCK
EXCHANGE GROUP PLC, FTSE
INTERNATIONAL LTD, and FRANK
RUSSELL COMPANY,

                      Defendants.


PAUL G. GARDEPHE, U.S.D.J.:

               On May 7, 2004, Advanced Analytics, Inc. (“Plaintiff”) filed a complaint (Dkt.
No. 1 in 04 Civ. 3531) against Citigroup Global Markets, Inc. and The Yield Book, Inc.,
commencing the action in Advanced Analytics, Inc. v. Citigroup Global Markets, Inc. et al., 04
Civ. 3531 (LTS) (SLC) (“Advanced Analytics I”);

              On August 28, 2020, Plaintiff filed a complaint (Dkt. No. 1), commencing the
above-captioned action (“Advanced Analytics II”);

           On November 30, 2020, Plaintiff filed an amended complaint (Dkt. No. 21) (the
“Amended Complaint”);

               On December 14, 2020, Defendant Citigroup, Inc. (“Citi,” with London Stock
Exchange Group PLC., FTSE International, Ltd, and Frank Russell Company, the “Defendants”)
submitted a letter to the Court requesting an extension of its time to answer the Amended
Complaint (Dkt. No. 23) (the “Letter Request for an Extension”);

               On December 16, 2020, the Court issued an order directing Plaintiff to respond to
the Letter Request for an Extension by December 21, 2020 (Dkt. No. 24);

              On December 21, 2020, Plaintiff filed its response to the Letter Request for an
Extension (Dkt. No. 28);

                On December 22, 2020, the Court issued an Order (Dkt. No. 29) directing the
parties to show cause by January 4, 2021 as to why a stay should not be issued in Advanced
Analytics II, given that the resolution of various issues in Advanced Analytics I may be
dispositive of certain issues in the instant case;
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NOW, THEREFORE, it is hereby ORDERED:

      1.       Unless otherwise ordered by the Court, the present action, Advanced Analytics II,
               will be stayed pending the final resolution of each of the following matters in
               Advanced Analytics I:

               a.     Plaintiff’s Objection to Magistrate Judge Pitman’s September 4, 2019
                      Denial of Plaintiff’s Sanction Motion Pursuant to Rule 56(h) (Dkt. No.
                      361 in 04 Civ. 3531);

               b.     Plaintiff’s Objection to Magistrate Judge’s Report and Recommendation
                      Granting Motion for Summary Judgment and Related Denial of Rule 56(d)
                      Motion (Dkt. No. 362 in 04 Civ. 3531; see also Dkt. No. 390 in 04 Civ.
                      3531); and

               c.     Plaintiff’s Objection to Part of Magistrate Judge Cave’s Order of June 9,
                      2020 and Denial of Plaintiff’s Motion to Defer (Dkt. No. 442 in 04 Civ.
                      3531).

      2.       The deadline for Defendants to answer or otherwise respond to the Amended
               Complaint in the above-captioned matter shall be 60 days after all three
               Objections referenced above are resolved. Within seven days after all three
               Objections have been resolved, counsel will submit a joint letter to the Court
               notifying the Court of this development and the effect of that development on the
               instant case.


Dated: New York, New York
       January 12, 2021




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